                          UNITED STATE BANKRUPTCY COURT

                              NORTHERN DISTRICT OF OHIO

In re Christine A. McCann                            )              Case No. 16-31867-maw
                                                     )
                                                     )              Chapter 13
                                                     )
                                                     )              Judge Mary Ann Whipple

   DEBTOR’S MOTION TO CONTINUE CONFIRMATION HEARING AFTER THE
                         CLAIMS BAR DATE

       Christine A. McCann (“Debtor”) through her counsel, Betty J. Burley, hereby moves the

court to continue the Confirmation Hearing in this case, scheduled for August 16, 2016 at 9:30

a.m. until after the claims bar date of October 12, 2016.

       The reason for this Motion is that the plan, as submitted has been deemed unfeasible by

the Trustee. Debtor therefore requests that the Court continue the confirmation hearing until all

claims have been received so that the Plan can be re-calulated

       Wherefore, the Debtor respectfully requests that this Court enter an order stating that the

Confirmation Hearing is continued until after the Bar Date of October 12, 2016.

Date: August 1, 2016                                 /s/ Betty J. Burley       .
                                                     Betty J. Burley, Esq. (0087017)
                                                     5012 Liberty Avenue
                                                     Vermilion, Ohio 44089
                                                     Phone: (440)967-1529 / Fax 440-967-5106
                                                     Email: burleylaw@gmail.com




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                                                            UNITED STATES BANKRUPTCY COURT
                                                               NORTHERN DISTRICT OF OHIO

 In re:                                                                             )      Case No.    16-31867-maw
                                                                                    )
               Christine A. McCann                                                  )      Chapter     13

                                                                              NOTICE

Any objection to the Debtor’s Motion to Continue Confirmation Hearing After the Claims Bar Date must
be filed within 14 days, or such other time as specified by applicable Federal Rule of Bankruptcy
Procedure or statute or as the Court may order, from the date of service as set forth on the certificate of
service, if the relief sought is opposed, and that the Court is authorized to grant the relief requested
without further notice unless a timely objection is filed.


                                                                     CERTIFICATE OF SERVICE

I certify that onAugust 1, 2016                              , a true and correct copy of the Debtor’s Motion to Continue Confirmation Hearing
After the Claims Bar Date was served:

Via the court’s Electronic Case Filing System on these entities and individuals who are listed on the court’s Electronic Mail Notice
List:
         Elizabeth A. Vaughan, Trustee , on behalf of Debtor Christine A. McCann , at officeofstanding@att.net,
            toledo13@ecf.epiqsystems.com

And by regular U.S. mail, postage prepaid, on behalf of Debtor, Kelley Stinson , at:

Ace Cash Express
RCL Finance Inc.
201 E. Abram St. Suite 120,
Arlington TX 76010-1146

CHECKSMART
Community Choice Financial Inc.
7002 Post Rd, Ste 200
Dublin OH 43016

Capital One
PO Box 30285
Salt Lake City, UT 84130-0285

Cleveland Clinic
PO Box 89410
Cleveland OH 44101-6410

Dr Christopher Dalton
211 Levitt Rd
Amherst OH 44001-1124

Edson Creek
1401 Portside Dr.
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Ford Motor Credit Co
PO Box 62180
Colorado Spring CO 80962-2180

Fashion Bug
PO Box 84073
Columbus GA 319098-4073
First Federal Credit & Collections
24700 Chagrin Blvd, Ste 205
Cleveland OH 44122-5662

First Merit Bank
Attn: Bankruptcy
III Cascade Plaza
Akron OH 44308

First Premier Bank
3820 N Louise Ave
Sioux Falls, SD 57117-5019

First Savings Credit Card
PO Box 5019
Sioux Falls, SD 57117-5019

HSBC Bank Usa, NA
PO Box 2013
Buffalo, NY 14240-2013

Money Key
3422 Old Capitol Trail Ste 1613
Wilmington DE 19808-6124

PNC Bank
2730 Liberty Ave
Pittsburgh PA 15222-4747

Randall McCann
15119 E Darrow Rd
Vermilion OH 44089-9601

Revenue Group
Ohio Attorney General
PO Box 89417
Cleveland OH 44101-6471



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Target
C/O Financial & Retail Services
Mailstop BT PO Box 9475
Minneapolis MN 55440-9475

The Affiliated Group I
PO Box 7739
Rochester MN 55903-7739

Vacational CU
2409 E Perkins Ave
Sandusky OH 44870-5198

Vacationland Federal CU
2409 Perkins Ave
Sandusky OH 44870-5198

Verizon
500 Technology Dr., Suite 500
Weldon Spring MO 63304-2225

CASHLAND
100 East 3rd St
Dayton OH 45402-2119

Credit One Bank Na
PO Box 98873
Las Vegas, NV 89193-8873

Fingerhut
6250 Ridgewood Rd
St Cloud, MN 56303-0820

First American Loans
4490 Liberty Ave
Vermilion OH 44089

Hyundai Finc
Attn: Bankruptcy
PO Box 20809
Fountain City CA 92728-0809

LVNV Funding
PO Box 10497
Greenville SC 29603-0497




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Merrick Bank,Geico Card
PO Box 23356
Pittsburg PA 15222-6356

Portfolio Recovery
Attn: Bankruptcy
PO Box 41067
Norfolk VA 23541

Synchrony Bank/Care Credit
Attn: bankruptcy
PO Box 103104
Roswell GA 30076-9104

Synchrony Bank/PayPal Cr
Attn: bankruptcy
PO Box 103104
Roswell GA 30076-9104




                                                                         /s/ Betty Burley
                                                                         Betty Burley
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                                                                         5012 Liberty Avenue
                                                                         Vermilion, OH 44089
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